                UNITED STATES DISTRICT COURT                            
              EASTERN DISTRICT OF PENNSYLVANIA                          


MICHAEL CROWLEY,              :                                           
                            :    Case No.   2:19-cv-06009-JMY           
        Plaintiff           :                                           
                            :                                           
   v.                       :                                           
                            :                                           
HOUSTON WIRING AND CABLE CO., :                                           
                            :                                           
        Defendant           :                                           

                  MEMORANDUM AND ORDER                                  

   AND NOW, this 9th day of January, 2020, pending before the Court is a motion to transfer 
this case to the United States District Court for the Southern District of Texas pursuant to 28 U.S.C. 
§ 1404(a), filed by Defendant Houston Wiring and Cable Co.  (See ECF No. 6.)  The motion is 
unopposed.  Plaintiff Michael Crowley failed to file a response, and the time to do so has expired.  
See L.R. 7.1(c) (responses to non-dispositive motions are due within fourteen days, and “[i]n the 
absence of [a] timely response, the motion may be granted as uncontested”).  The Court finds this 
matter appropriate for resolution without oral argument.  Fed. R. Civ. P. 78; L.R. 7.1(f).  For the 
following reasons, the Court will grant Defendant’s motion to transfer to the United States District 
Court for the Southern District of Texas.                                 
I.   BACKGROUND                                                         
   This is a civil action for damages arising out of Plaintiff’s employment with Defendant.  
(ECF No. 1 at 10-14.)1  Plaintiff originally filed his suit against Defendant in the Pennsylvania 
Court of Common Pleas, Chester County.  (Id.)  The case was removed to this Court on December 
19, 2019.  (Id. at 1.)  On December 23, 2019, Defendant filed the instant motion requesting to 

1 The Court adopts the pagination supplied by the CM/ECF docketing system.  
transfer this action to the Southern District of Texas based on a forum-selection clause in an 
employment agreement between the parties.  (“Motion,” ECF No. 6-1.)       
   Defendant is in the wire and cable industry.  (See ECF No. 1.)  Defendant is a Delaware 
corporation and has its principal place of business in Houston, Texas.  (Id. at 3.)  On December 

27, 2018, Plaintiff executed an employment agreement whereby he accepted employment with 
Defendant as an Inside Salesperson.  (“Employment Agreement,” ECF No. 6-3 at 2.)  A copy of 
the employment agreement is attached to the Defendant’s motion to transfer.  (See id.)  The 
employment agreement provides, in relevant part, that:                    
        As a condition of EMPLOYEE’s employment and in consideration    
        of HWC providing EMPLOYEE with training; salary, bonus, or      
        wages;  Confidential  Business  Information;  or  other  legal  
        consideration, EMPLOYEE and HWC agree as follows:               

                             …                                          

                  ARTICLE VI. MISCELLANEOUS                             

        21.  Texas Law Applies.  This Agreement shall be governed in    
        accordance with the laws of the State of Texas, excluding the   
        conflicts of law provisions thereof.                            

        22.  Forum Selection.  The PARTIES expressly agree that any suit 
        or other legal proceedings related to or arising out of the PARTIES’ 
        employment relationship or this Agreement will be filed and heard 
        only in the state or federal courts sitting in Houston, Texas, and that 
        if the PARTIES agree to arbitration, the arbitration will likewise 
        take  place  in  Houston,  Texas.    The  PARTIES  expressly  and 
        irrevocably waive any objection they may have to Houston, Texas 
        as a venue for any such proceedings and will not assert that Houston, 
        Texas or the courts or arbitrators sitting therein are an improper or 
        inconvenient forum.                                             

(Id. at 2, 6.)                                                            
   Despite  this  language  in  the  employment  agreement,  Plaintiff  brought  suit  against 
Defendant in Pennsylvania state court for wrongful termination/wrongful discharge, which clearly 
relates to Plaintiff’s employment with Defendant.                         
II.  DISCUSSION                                                         

   Defendant asserts that the Southern District of Texas is the appropriate federal venue for 
Houston, Texas, and this case should be transferred to the Southern District pursuant to 28 U.S.C. 
§ 1404(a).  (See Motion at 5 n.1.)  Section 1404(a) states:               
        For the convenience of parties and witnesses, in the interest of 
        justice, a district court may transfer any civil action to any other 
        district or division where it might have been brought or to any 
        district or division to which all parties have consented.       

28 U.S.C. § 1404(a).  “When the parties have agreed to a valid forum-selection clause, a district 
court should ordinarily transfer the case to the forum specified in that clause.”  Atl. Marine Const. 
Co. v. U.S. Dist. Court for W. Dist. Of Tex., 571 U.S. 49, 62 (2013).  Where a forum-selection 
clause is present, “[o]nly under extraordinary circumstances unrelated to the convenience of the 
parties should a § 1404(a) motion be denied.”  Id.  Because Plaintiff has not responded to the 
motion, there is no argument before the Court that the forum-selection clause is invalid or 
unenforceable.  Accordingly, the undersigned treats the clause as valid.  
   Typically, a court considering a motion under Section 1404(a) must evaluate both the 
convenience of the parties and various public-interest considerations to decide whether transfer 
ultimately promotes the interest of justice.  Id. at 62-63.  Where a forum-selection clause is present, 
however, this analysis changes and the clause should be “given controlling weight in all but the 
most exceptional cases.”  Id. at 63 (citing Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 33 
(1988)).  In such instances, the plaintiff’s choice of forum merits no weight, and “the plaintiff bears 
the  burden  of  establishing  that  transfer  to  the  forum  for  which  the  parties  bargained  is 
unwarranted.”  Id.  As Plaintiff has not filed a response to the motion, Plaintiff has failed to satisfy 
this burden.                                                              
   Additionally, a court should not consider arguments about the parties’ private interests, as 
the parties waive the right to challenge the selected forum as inconvenient by negotiating a forum-

selection clause.  Id. at 64.  As a consequence, a court may consider arguments about public-
interest factors only.  Id.  “Because those factors will rarely defeat a transfer motion, the practical 
result is that forum-selection clauses should control except in unusual cases.”  Id.  Public-interest 
factors may include “the administrative difficulties flowing from court congestion; the local 
interest in having localized controversies decided at home; [and] the interest in having the trial of 
a diversity case in a forum that is at home with the law.”  Id. at 62 n.6 (quoting Piper Aircraft Co. 
v. Reyno, 454 U.S. 235, 241 n.6 (1981)).                                  
   Defendant submits to the Court that all of the public-interest factors weigh in favor of 
transfer.  (See Motion at 13-14.)  The undersigned agrees.  First, there is no evidence before the 
Court of court congestion in the Southern District of Texas.2  As to the second and third factors, 

the Court finds that the Employment Agreement contains a choice-of-law provision that requires 
the application of Texas law (see Employment Agreement at 6 ¶ 21), and, therefore, “the local 
interest in having localized controversies decided at home; [and] the interest in having the trial of 
a diversity case in a forum that is at home with the law”  does not overwhelmingly disfavor transfer.  
See Atl. Marine Const. Co., 571 U.S. at 62.  Moreover, in Atlantic Marine the Supreme Court 
clarified that the normal rule governing § 1404(a) transfers, which provides that the law applicable 

2 Recent court management statistics show that the median length of time from filing to trial in the 
Southern District of Texas was 18.9 months in 2018 and 23.9 months in 2019, compared with the Eastern 
District of Pennsylvania where the median length of time from filing to trial was 21.5 months in 2019 and 
19.6 months in 2019.  See September 2019 Federal Court Management Statistics—Comparison within 
Circuit, https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0930.2019.pdf (last 
visited January 8, 2020) (describing median time from filing to disposition).  
in the transferor court follows the lawsuit to the transferee court, is inapplicable where the plaintiff 
ignored a valid forum-selection clause in choosing the initial venue.  Id. at 65-66.  Accordingly, 
the Court finds that the public-interest factors do not weigh in Plaintiff’s favor.  
III.  CONCLUSION                                                        

   Finding that Defendant has presented evidence of a valid agreement with a forum-selection 
clause, and that Plaintiff has presented no arguments demonstrating transfer is unwarranted, the 
Court will grant Defendant’s motion.  Accordingly:                        
1.  IT IS HEREBY ORDERED that Defendant Houston Wiring and Cable Co.’s Motion to 
   Transfer Venue (ECF No. 6) is GRANTED;                               
2.  IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. § 1404(a), the Clerk of Court 
   is DIRECTED to transfer this action to the United States District Court for the Southern 
   District of Texas and the Clerk shall CLOSE this case statistically.  

IT IS SO ORDERED.                                                         
                                 BY THE COURT:                          
                                 /s/ Judge John Milton Younge           
                                      Judge John Milton Younge          